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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA                            )
                                                    )      Nos.   09-CR-30014-PA
                       Plaintiff,                   )             09-CR-30056-PA
               v.                                   )
                                                    )      GOVERNMENT’S
ALAN DAVID HURWITZ,                                 )      SENTENCING MEMORANDUM
                                                    )
                       Defendant.                   )      [Sentencing 1/19/2010 at 10:00am]
                                                    )


       The United States of America (hereinafter “the government”), by and through its

attorneys, Kent S. Robinson, Acting United States Attorney for the District of Oregon, and

Byron G. Chatfield, Assistant United States Attorney, hereby submits this sentencing

memorandum for each of the cases defendant is to be sentenced on:

                                       BACKGROUND

       The defendant has pled guilty to three armed bank robberies and one bank robbery. One

of the armed bank robberies occurred in Oregon, while the other three robberies were transferred

to the District of Oregon pursuant to Rule 20, Federal Rules of Criminal Procedure, from the

Northern District of California.
       On November 11, 2009, the defendant pled guilty to the Armed Bank Robbery in Oregon

committed on December 30, 2008, and to two additional counts of Armed Bank Robbery and

one count of Bank Robbery committed on December 11th, 12th and 22nd, 2008 in San Rafael,

Palo Alto and Santa Rosa, California, all in violation of 18 U.S.C. § 2113(a) and (d).

       Sentencing on all four robberies is set for Monday, January 19, 2010, at 10:00 a.m. in the

United States Courthouse in Medford, Oregon, before the Honorable Owen M. Panner, United

States District Court Judge.

                                GUIDELINE CALCULATION

       The government concurs with the guideline calculation in the Presentence Report (PSR).

1.     CAREER OFFENDER

       The defendant is a Career Offender under U.S.S.G. § 4B1.1. PSR ¶52-54; Plea

Agreement ¶5.

       The armed bank robbery and bank robbery offenses in the present cases are felony crimes

of violence. Further, defendant has numerous prior armed bank robbery convictions that qualify

as crimes of violence under U.S.S.G. § 4B1.1. PSR ¶56-60. The defendant was previously

convicted of 10 prior armed bank robberies in the ‘90s occurring in Michigan, Illinois, Ohio and

Indiana. PSR ¶56-60. The offense level of 34 as a career offender applies in this case, along

with a criminal history category of VI. USSG § 4B1.1(b)(B). As a result, the defendant's

guideline range is 262-327 months, prior to adjustments. U.S.S.G. § 4B1.1(b); PSR ¶54 & 63.




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2.     ACCEPTANCE OF RESPONSIBILITY

       The defendant has admitted his conduct in committing the bank robberies in the present

cases. The government recommends and moves for a 3-level reduction under U.S.S.G. §§

4B1.1(b) and 3E1.1. PSR ¶50 & 54.

3.     GUIDELINE SUMMARY:

       Career Offender Base Offense Level                          34
       Acceptance of Responsibility                                -3
                     Total                                         31

       Criminal History Category:           VI

       Guidelines Range:                    188 - 235 months

                         GOVERNMENT’S RECOMMENDATION

       It is the government's recommendation that the court impose a sentence of 235 months,

the high-end of the guideline range. This is in accord with the parties agreement to recommend a

sentence within the applicable guideline range and the defendant's understanding that the

government was going to be recommending the high-end of the range because of the additional

armed bank robbery charges transferred from California. Plea Agreement ¶8.

       As mentioned earlier, the defendant was convicted previously for committing 10 armed

bank robberies in four states. He was sentenced to 158 months,17 days and 147 months all to be

served concurrently. PSR ¶56 & 60. Besides concurrent sentences, as part of the plea

agreements in those cases, at least five additional counts of Armed Robbery were dismissed as

well as an additional count of Carry and Use a Firearm in Relation to a Federal Crime of

Violence. PSR ¶56-57. Moreover, according to defendant's 1995 signed plea agreement at page



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11, pursuant to his plea agreement when convicted in 1994 for the five Armed Robberies, he

stipulated to having committed seven additional armed bank robberies and one armed robbery of

a credit union. Consequently, defendant committed 18 robberies to which he pled guilty or

stipulated.

       Now, defendant has committed four additional bank robberies. During the Medford bank

robbery, defendant told the victim teller "You have ten seconds to give me 50's and 100's only,

no bait" while passing a note that read in part "This is a robbery" and "Ten seconds" and telling

her to "hurry up, only 100's and 50's" and pulling up the front of his shirt to display what she

believed to be a handgun tucked in his waistband. PSR ¶1, 19-20. When the teller handed the

defendant the money, he fanned the money out to make sure she had not given him any $20 bills.

She also told detectives that defendant threatened to "shoot" if she did not comply with his

demands. As defendant was leaving her teller station he made the statement, "give me sixty

seconds before you do anything or I will shoot." The teller told detectives that she was

extremely scarred during the robbery and felt the defendant was going to hurt her. Detectives

observed that she was noticeably upset and shaken from what had just occurred.

       During the Santa Rosa bank robbery, after handing the teller a note, defendant told her

"give me all the money you have in your drawer," then lifted up the front of his sweater and

pointed to what she believed to be a dark colored revolver in his waistband. Defendant then told

her "don't give me the dye pack or I'll use this." PSR ¶22. Additionally, she reported that as the

defendant was leaving he told her to "smile at me when I walk out." The teller was reported as

being visibly shaken and upset following the incident. Similarly, during the Palo Alto bank




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robbery, after placing a note on the counter that said something similar to "give me everything

you have in 20 seconds or I'm going to hold this place up." PSR ¶17. Although she did not see a

weapon, she reported to authorities that she was fearful of the defendant. More importantly, and

like the Medford bank robbery, during the San Rafael credit union robbery the defendant told the

teller to give him all the money or he would kill her. Defendant displayed what she believed to

be a black colored handgun he had concealed in his waistband underneath his jacket. PSR ¶16.

A credit union customer told authorities that she observed defendant as he turned around and

walked past them (her and her mother), not realizing anything was wrong until she saw the teller

"start to panic."

        Obviously, such statements and actions by defendant instilled fear in the bank/credit

union tellers. But, as a career offender, by committing just one of the bank robberies or the

credit union robbery that this Court will be sentencing defendant on, he would be facing the

same 188-235 month Guideline range sentence. This is the same type of criminal conduct he

engaged in during his bank robberies in the ‘90s. Importantly, he has now committed additional

robberies, instilling fear in other people, particularly the tellers from the Medford and San Rafael

robberies where he either threatened to shoot or kill them, besides placing a multitude of others

both inside and outside the banks in potential danger. Defendant should not be entitled to a

sentence that merely treats his conduct as if he only committed one robbery when these types of

separate and distinct personal harms were inflicted on each teller.

        The government also recommends that restitution be imposed in the amount and to the

victims as set forth in the PSR ¶108.



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       In conjunction with the restitution, a sentence at the high-end of the Guideline range is

certainly a reasonable sentence to impose given all of the circumstances of these cases and all of

the factors to be considered by the court.

       Respectfully submitted this 13th day of January, 2010.

                                             KENT S. ROBINSON
                                             Acting United States Attorney

                                              /s/ Byron G. Chatfield
                                             BYRON G. CHATFIELD
                                             Assistant United States Attorney




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